      Case 1:18-cv-00419-VSB-OTW Document 53 Filed 08/07/19 Page 1 of 1

                       LEE LITIGATION GROUP, PLLC
                                  148 WEST 24TH STREET, EIGHTH FLOOR
                                         NEW YORK, NY 10011
                                           TEL: 212-465-1180
                                           FAX: 212-465-1181
                                       INFO@LEELITIGATION.COM


WRITER’S DIRECT:          212-465-1188
                          cklee@leelitigation.com
                                                                            August 7, 2019
 Via ECF
 The Honorable Ona T. Wang, U.S.M.J.
 United States District Court
 Southern District of New York
 500 Pearl Street
 New York, NY 10007

                   Re: Vicente, et al. v. Ljubica Contractors LLC, et al.
                       Case No. 18-cv-419(VSB)(OTW)

Dear Judge Wang:

        We are counsel to Plaintiffs. Defendants were ordered to show cause by August 6, 2019 for
their failure to pay Plaintiffs’ counsel $3,678.28 in sanctions per the Court’s May 16, 2019 Order.
See Dkt. # 51. Defendants’ counsel has failed to make any such showing in direct violation of Your
Honor’s Order. Id.

       Furthermore, Defendants’ opposition to Plaintiffs’ Motion for Summary Judgment was due
July 29, 2019. Defendants have failed to file either their opposition or a letter motion for an
extension of time to file their response.

        For the foregoing reasons, we write to respectfully request that Your Honor recommend to
Judge Broderick to consider Plaintiffs’ pending Motion for Summary Judgment unopposed. We
further respectfully renew our request for Defendants to pay a penalty of ten percent (10%),
compounded daily, of the principal amount of $3,678.26, for every day after July 1, 2019 until
Defendants remit their payment in full. See Dkt. # 50.

       We thank the Court for considering this matter.

Respectfully submitted,

/s/ C.K. Lee
C.K. Lee, Esq.

cc:     all parties (via ECF)
